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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

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 9      SECURITIES AND EXCHANGE                                CASE NO. 2:22-cv-01009-TL
        COMMISSION,
10                                                             ORDER GRANTING LEAVE TO
                                Plaintiff,
11              v.                                             FILE AMICUS CURIAE BRIEF

12      ISHAN WAHI et al,

13                              Defendants.

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            This matter comes before the Court on Coinbase, Inc.’s motion for leave to file an amicus
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     curiae brief (Dkt. No. 78) and its statement in response to the Court’s March 17, 2023, Order
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     (Dkt. No. 98). The Court has reviewed these filings and the proposed brief, and no responses
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     having been filed by the Parties, GRANTS the motion. Coinbase, Inc. shall file its amicus brief on
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     the docket within two (2) days of entry of this Order.
19
            Dated this 3rd day of April 2023.
20

21                                                          A
                                                            Tana Lin
22                                                          United States District Judge
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     ORDER GRANTING LEAVE TO FILE AMICUS CURIAE BRIEF - 1
